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IN THE UNITED sTATEs DISTRICT coURT pain BY'" D
FOR THE wEsTERN DISTRICT oF TENNESSEE _ _
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MARINO CORTEZ GREEN, ..CLEH< US j""TF=-‘*`T mm
w!UCF 44434443

Plaintiff,
Vs. No. 03-2043-D/P
REGIONAL MEDICAL CENTER,

Defendant.

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ORDER DIRECTING CLERK TO UPDATE DOCKET TO REFLECT
THAT ALL MOTIONS FOR APPOINTMENT OF COUNSEL ARE DENIED

 

On October 25, 2004, plaintiff, Marino Green filed a motion
for appointment of counsel. (Docket entry 27) On November 8, 2004,
dreen filed a second, duplicative motion for appointment of
counsel. (Docket entry 30) On November 22, 2004, the Court denied
the appointment of counsel. (Docket entry 34) For some unknown
reason, the docket reflects that one of the motions for appointed
counsel remains pending. The Court's conclusion that counsel was
not warranted and order denying counsel applied to plaintiff's
first motion filed on October 25, 2004, as well as the duplicative
motion which was filed on November 8, 2005. The Clerk is hereby
ORDERED to update the docket to reflect that all motions for
appointment of counsel in this case are DENIED.

IT IS SO ORDERED this

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:03-CV-02043 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

